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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:16CR216

      vs.
                                                                    ORDER
THOMAS SNOWBALL,

                     Defendant.

       The court has approved withdrawal of CJA panel attorney, Matthew R. Kahler in
this case. After a review of the Financial Affidavit previously filed in this matter, I find
that the above-named defendant is eligible for appointment of new counsel pursuant to
the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan for
the District of Nebraska.

       IT IS ORDERED that Kevin A. Ryan is appointed as attorney of record for the
above-named defendant in this matter and shall forthwith file an appearance in this
matter.

       IT IS FURTHER ORDERED that the Federal Public Defender’s Office shall
forthwith provide counsel with a draft appointment order (CJA Form 20) bearing the
name and other identifying information of the CJA Panel attorney identified in
accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
the Federal Public Defender for the District of Nebraska and Kevin A. Ryan.

       DATED this 24th day of August, 2017.

                                              BY THE COURT:

                                              s/ Michael D. Nelson
                                              United States Magistrate Judge
